Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 1 of 18




      EXHIBIT L
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 2 of 18




            Matchbox – Robotech (1985)




                                                                     HG00000115
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 3 of 18




                                                                     HG00000116
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 4 of 18




                                                                     HG00000117
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 5 of 18




Robotech Art I (Starblaze Editions) (February 1,
                     1986)




                                                                     HG00000118
  Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 6 of 18




Robotech: Battlecry for Playstation, Xbox, Nintendo
                      (2002)




                                                                       HG00000119
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 7 of 18




                                                                     HG00000120
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 8 of 18




                                                                     HG00000121
   Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 9 of 18




Robotech: Battlecry – Prima’s Official Strategy Guide
                  (October 1, 2002)




                                                                        HG00000122
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 10 of 18




            Robotech: RPG Tactics (2015)




                                                                      HG00000123
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 11 of 18




                                                                      HG00000124
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 12 of 18




       Robotech Blind Box Figurines (2015)




                                                                      HG00000125
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 13 of 18




    Robotech Transformable Action Figure
30th Anniversary Rick Hunter’s GBP-1J Heavy
           Armor Veritech (2015)




                                                                      HG00000126
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 14 of 18




                                                                      HG00000127
 Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 15 of 18




Robotech 1/100 Rick Hunter VF-1J Super Veritech
                 Figure (2016)




                                                                       HG00000128
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 16 of 18




                                                                      HG00000129
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 17 of 18




 Titan Comics – Robotech (November 1, 2017)




                                                                      HG00000130
Case 2:17-cv-00327-TSZ Document 110-12 Filed 04/09/18 Page 18 of 18




  Robotech Visual Archive: The Macross Saga
             (December 19, 2017)




                                                                      HG00000131
